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               Appellate Division of the Supreme Court
                        of the State of New York
                      Second Judicial Department


         I, Aprilanne Agostino, Clerk of the Appellate Division of the
    Supreme Court of the State of New York, Second Judicial
    Department, do hereby certify that

                        Danielle A. D'Aquila
    was duly licensed and admitted to practice as an Attorney and
    Counselor at Law in all the courts of this State on February 27,
    2013, has duly taken and subscribed the oath of office prescribed
    by law, has been enrolled in the Roll of Attorneys and Counselors
    at Law on file in this office, is duly registered with the
    Administration Office of the Courts, and according to the records
    of this Court is currently in good standing as an Attorney and
    Counselor-at-Law.



                              In Witness Whereof, I have hereunto set
                              my hand in the City of Brooklyn on
                              June 12, 2021.




                                           Clerk of the Court


    CertID-00018904
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                                              #:234
                                         Appellate Division
                                Supreme Court of the State of New York
                                     Second Judicial Department
                                          45 Monroe Place
                                       Brooklyn, N.Y. 11201
                                              (718) 875-1300
     WILLIAM F. MASTRO                                                        MARIA T. FASULO
     ACTING PRESIDING JUSTICE                                                DARRELL M. JOSEPH
                                                                                  DEPUTY CLERKS
    APRILANNE AGOSTINO
       CLERK OF THE COURT
                                                                               KENNETH BAND
                                                                             MELISSA KRAKOWSKI
                                                                               WENDY STYNES
                                                                                  January 7, 2005
                                                                             ASSOCIATE DEPUTY CLERKS


    To Whom It May Concern


          An attorney admitted to practice by this Court may request a certificate of
    good standing, which is the only official document this Court issues certifying to an
    attorney's admission and good standing.


           An attorney's registration status, date of admission and disciplinary history
    may be viewed through the attorney search feature on the website of the Unified
    Court System.


              New York State does not register attorneys as active or inactive.


          An attorney may request a disciplinary history letter from the Attorney
    Grievance Committee of the Second Judicial Department.


          Bar examination history is available from the New York State Board of Law
    Examiners.


              Instructions, forms and links are available on this Court's website.




                                                        Aprilanne Agostino
                                                        Clerk of the Court



    Revised October 2020
